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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 MICHAEL MAYO (20181127027),                  )
                                              )
                              Plaintiff,      )          Case No.: 1:21-cv-05014
                                              )
               v.                             )          Judge John J. Tharp, Jr.
                                              )
 TOM DART,                                    )
                                              )
                              Defendant.      )

            DEFENDANT’S SECOND AGREED MOTION FOR EXTENSION OF
             TIME TO ANSWER OR OTHERWISE PLEAD TO PLAINTIFF’S
                        SECOND AMENDED COMPLAINT

       NOW COMES Defendant TOM DART, by and through his attorneys, DeVore Radunsky

LLC, pursuant to Fed. R. Civ. P. 6(b), and for Defendant’s Second Agreed Motion for Extension

of Time to Answer or Otherwise Plead to Plaintiff’s Second Amended Complaint, states as

follows:

       1.     Defendant’s Counsel met with Plaintiff on January 23, 2023, and Plaintiff agreed to

              this 2nd Motion for Extension of Time during the meeting.

       2.     In that meeting, Plaintiff expressed that he would soon be seeking to file an

              amended complaint.

       3.     On September 1, 2022, Plaintiff filed his First Amended Complaint. (Dkt. #11).

       4.     On November 8, 2022, Plaintiff filed his Second Amended Complaint (“SAC”).

              (Dkt. #18).

       5.     On December 5, 2022, this Court issued an order accepting Plaintiff’s SAC and

              instructing Defendant Tom Dart to answer the SAC by December 23, 2022. (Dkt.

              #21).

       6.     On December 9, 2022, Defendant filed the Agreed Motion for Extension of Time

              to Answer or Otherwise Plead to Plaintiff’s Second Amended Complaint. (Dkt.

              #23).
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       7.     On December 12, 2022, this Court issued an order granting Defendant’s Agreed

              Motion for Extension of Time to Answer or Otherwise Plead to Plaintiff’s Second

              Amended Complaint, giving Defendant until January 30, 2023, to file his answer or

              other responsive pleading to the SAC. (Dkt. #24).

       8.     Defendant Tom Dart now requests a 28 (twenty eight) day extension, until

              February, 27, 2023, to file his answer or other responsive pleading to the SAC.

       9.     Counsel for Defendants are currently drafting an Appellate Reply Brief that is due

              on February 3, 2023, in the matter entitled, GuideOne v. Presbytery of Chicago,

              Case No. 1-22-0235. An extension is not possible.

       10.    Defendant’s counsel is additionally working on a Reply Brief in Support of a

              Motion for Summary Judgment that is due on January 23, 2023, in in the matter

              entitled, Arquero v. Dart et al., Case No. 1:19-cv-01528.

       11.    Defendant’s Counsel also has a Response Brief in Opposition to a Motion to Bar

              Records and for Sanctions that is due on January 31, 2023, in the matter entitled

              Dukes v. Cook County Sheriff’s Office, et al., Case No. 1:17-cv-07095.

       12.    Under Rule 6(b), this Court may, for good cause, extend the time “[w]hen an act

              may or must be done.” Fed. R. Civ. P. 6(b).

       13.    Not granting an extension of time for Defendant’s Answer or other responsive

              pleading would prejudice Defendant because the January 30, 2023, due date does

              not allow sufficient time to properly prepare and submit Defendant’s answer or

              other responsive pleading under the circumstances.

       14.    Granting an extension of time will not prejudice any party and this motion is not

              brought for undue delay or any improper purpose

       WHEREFORE, Defendant respectfully requests that this Honorable Court enter an order

as follows:

       1. Defendant’s Second Motion for Extension of Time is granted;
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       2. Defendant’s Answer or Other Responsive Pleading to Plaintiff’s Second Amended

           Complaint shall be filed by February 27, 2023

                                                           Respectfully Submitted,

                                                           TOM DART

                                                   By:     /s/ Jason E. DeVore
                                                           Jason E. DeVore, One of the Attorneys
                                                           for Defendant
DEVORE RADUNSKY LLC
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                                CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that Defendant’s Motion for Extension of
Time to File Answer or Other Responsive Pleading was filed on January 24, 2023, with the Northern
District of Illinois ECF System, serving a copy to all parties.

                                                   /s/Zachary Stillman
                                                   Zachary Stillman
